                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                        )
                                                )        Case No. 1:17-cr-24
v.                                              )
                                                )        Judge Travis R. McDonough
VINCENT DENNIS                                  )
                                                )        Magistrate Judge Susan K. Lee
                                                )


                                            ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count One of the

four-count Indictment; (2) accept Defendant’s guilty plea as to Count One of the Indictment; (3)

adjudicate the Defendant guilty of Count One of the Indictment; (4) defer a decision on whether

to accept the amended plea agreement until sentencing; and (5) order Defendant released on bond

under appropriate conditions of release until sentencing in this matter. (Doc. 49.) Neither party

filed a timely objection to the report and recommendation. After reviewing the record, the Court

agrees with Magistrate Judge Lee’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc. 49) pursuant

to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

     1. Defendant’s motion to withdraw his not guilty plea as to Count One of the Indictment of

        the Indictment is GRANTED;

     2. Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

     3. Defendant is hereby ADJUDGED guilty of Count One of the Indictment;




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   4. A decision on whether to accept the amended plea agreement is DEFERRED until

      sentencing; and

   5. Defendant SHALL REMAIN on bond under appropriate conditions of release until

      sentencing in this matter, which is scheduled to take place on November 3, 2017, at

      9:00 a.m. [EASTERN] before the undersigned.

   SO ORDERED.


                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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